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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRICT OF TEXAS
HOUSTON DlVlSlON

ATTICUS RESEARCH CORPORATION, §
Plaintiff,
VS. CtviL_H-i 0-349

UPTIME SOFTWARE INC_,

Defendant.

ORDER OF DISMISSAL

 

The Court having been advised by counsel t`or the parties that an amicable settlement
has been reached in this action, it is

ORDERED AND ADJUDGED that, pursuant to Fed. R. Civ. P. 41(a)(2), this cause
is hereby DISMISSED on the merits Without prejudice to the right of counsel to move for
reinstatement of this action Within ninety (90) days if settlement is not consummated

FURTHERMORE, the Court shall retain jurisdiction to enforce the settlement
agreement in its discretion upon an appropriate motion made Within ninety (90) days of this
Order. Kokkonen v. Guara’ian Lz'fe Ins. CO. of Amerz`ca, 511 U.S. 375, 381-82, 114 S. Ct.
1673. 1677 (_1994); B€ll v. Schexnayder, 36 F.3d 447, 448~50 (Sth Cir. 1994).

The Clerl< shall enter this Order and provide a copy to all parties

SIGNED on this q+` day of September, 2010. at Houston, Texas.

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VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

